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r-'REDER|<:K w. TuRNER, couNsE`L March 24, 2008

'ADM|TTED NY, NJ AND DC

BY FAX (914-390-4179)
Honorable Stephen C. Robinson

United States Courthouse , \ 1 » 1 ~ 1
300 Quarropas Street, Room 633 MEMO EI\ D \j 1 \ 3 1 -

White Plains, NY 10601

Re: Omnipoint Communications lnc.
v. The Town of Rama o et al.
08 Civ. 2419 (SCR)

 

Dear Judge Robinson:

I am the attorney for Omnipoint Communications Inc. (“Omnipoint”) in connection
with the above captioned matter Omnipoint respectfully seeks 1eaye to make a motion to submit a
Supplemental Complaint m accordance with FRCP Rule 15 (d) and requests a pre-motion conference
with Your Honor to discuss same.

Omnipoint commenced this action on March lO, 2008 alleging that for the past
twenty-two (22) months, defendants have unreasonably delayed Omnipoint’s application
(“Application”) for permission to construct a federally licensed wireless telecommunications, in
violation of the federal Telecommunications Act of 1996. On March l 1, 2008, defendant Planning
Board denied the Application. Omnipoint seeks to supplement its complaint to include the defendant
Planning Board’s denial of the Application Since defendants have not yet answered plaintiffs
complaint please let us know ifYour Honor believes that an amendment of Omnipoint’ s complaint
would be more appropriate

Please let us know how Your Honor wishes to proceed. Thank you for your

 

 

 

 

 

   

consideration.
Very respectfully yours,
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f U§»L‘( bDi\tY ebert D. Gaudioso, Esq.
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cc: Town of Ramapo Town Clerk (simultaneously by fax to 845-357-8513)
Town of Ramapo Town Attorney (simultaneously by fax to 845-357-2936)
Omnipoint Communications Inc.

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APPL\CAT\ON GRANTED

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